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 6

 7
                                  UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
       GARY PALMER,
10                                                       Case No. 2:05-cv-1935 MCE GGH
              Plaintiff,
11
                                                         Order Re: Request for Dismissal of Jones
12            v.                                         Retail Corp. dba Easy Spirit, Jones Retail
                                                         Corp. dba Kasper, and Nine West Group,
13     CHELSEA FINANCING PARNTERSHIP,                    Inc. dba Nine West Outlet Store #2516
       L.P. et al.,
14

15            Defendants.
16     ____________________________________/

17

18            IT IS HEREBY ORDERED that plaintiff’s complaint is dismissed with prejudice as to

19     the following defendants only:
       1.     Jones Retail Corp. dba Easy Spirit;
20
       2.     Jones Retail Corp. dba Kasper;
21
       3.     Nine West Group, Inc. dba Nine West Outlet Store #2516.
22

23
       Dated: March 27, 2006
24

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26                                                  ___________________________________
                                                    MORRISON C. ENGLAND, JR
27                                                  UNITED STATES DISTRICT JUDGE

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